       Case: 23-10326     Document: 330        Page: 1   Date Filed: 04/30/2024




                                  No. 23-10326

              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT

BRAIDWOOD MANAGEMENT, INCORPORATED; JOHN SCOTT KELLEY;
KELLEY ORTHODONTICS; ASHLEY MAXWELL; ZACH MAXWELL; JOEL
                        STARNES
                               Plaintiffs-Appellees/Cross-Appellants,
                  JOEL MILLER; GREGORY SCHEIDEMAN
                                           Plaintiffs-Cross-Appellants,

                                          v.
   XAVIER BECERRA, U.S. DEPARTMENT OF HEALTH AND HUMAN
 SERVICES, IN HIS OFFICIAL CAPACITY AS SECRETARY OF HEALTH AND HUMAN
SERVICES; UNITED STATES OF AMERICA; JANET YELLEN, SECRETARY,
U.S. DEPARTMENT OF TREASURY, IN HER OFFICIAL CAPACITY AS SECRETARY
OF THE TREASURY; JULIE A. SU, ACTING SECRETARY, U.S. DEPARTMENT
       OF LABOR, IN HER OFFICIAL CAPACITY AS SECRETARY OF LABOR,
                             Defendants-Appellants/Cross-Appellees.


    On Appeal from the U.S. District Court for the Northern District of Texas


              NOTICE OF WITHDRAWAL OF APPEARANCE


      I, Jordan Peter Ascher, hereby withdraw my appearance as counsel for

Amicus Curiae Blue Cross Blue Shield Association in this case because I will be

leaving O’Melveny & Myers LLP on May 3, 2023. Blue Cross Blue Shield

Association’s other attorneys who have entered appearances will continue to

represent Amicus Curiae in this matter.

                                          1
Case: 23-10326   Document: 330       Page: 2   Date Filed: 04/30/2024




DATED: April 30, 2024

                                      Respectfully submitted,

                                      /s/ Jordan Peter Ascher
                                       JORDAN PETER ASCHER
                                       O’MELVENY & MYERS LLP
                                       7 Times Square
                                       New York, N.Y. 10036
                                       (212) 728-5885




                                 2
       Case: 23-10326      Document: 330       Page: 3   Date Filed: 04/30/2024




                           CERTIFICATE OF SERVICE

      I hereby certify that on the 30th day of April, 2024, a true and correct copy

of the foregoing was filed electronically using the CM/ ECF system which served

counsel for the parties.



                                                /s/ Jordan Peter Ascher
                                               Jordan Peter Ascher




                                           3
